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                                                                                                       Crim-Sent (8/11/11)
                                                   HONORABLE:             Janet Bond Arterton
                         DEPUTY CLERK Donna Barry                RPTR/ECRO/TAPE Melissa Cianciullo
TOTAL TIME: 0             hours 36 minutes   USPO R.Togninalli/J.Montesi INTERPRETER NA
                            DATE: 11/26/19       START TIME: 10:42 a.m.        END TIME: 11:18 a.m.
                                      RECESS (if more than ½ hr)   FROM:              TO:

CRIMINAL NO. 3:15-cr-00111-JBA                  Deft # 1
                                                                        Douglas P. Morabito
          UNITED STATES OF AMERICA                                      AUSA
                    vs
                     Heather Alfonso
                                                                        Ryan McGuigan
                                                                       Defendant’s Counsel
                                                    SENTENCING

  ...........        Sentencing held      Sentencing continued until                  at
  ...........     Deft failed to appear, Bench Warrant to issue
  ...........     Court departs      Upward from the guidelines        Downward from the guidelines
  ...........            month(s) imprisonment on Count(s)                  of the superse ding indictment infor mation
                &       months(s) imprisonment on Count(s)                  of the superseding indictment information
  ...........     Sentence on Count(s)              shall run     concurrently consecutively to sentence
                  imposed on Count(s)                  to state sentence
  ...........     Deft shall get credit for time served on Count(s)
  ...........     Upon release the defendant shall be on supervised release for a term of                  months
  ...........     Deft placed on probation for a period of 3             years on Count(s) 1         of the Information
  ...........     Government’s motion for Final Order of Forfeiture           Filed      Granted      Denied
  ...........     Preliminary Order of Forfeiture is outstanding
  ...........     Final Order of Forfeiture filed
  ...........    Deft shall pay a fine of $               on Count(s)                    to be paid by
                     in installments of $                 per                for a total of $___________
  ...........     A Special Assessment of $25             $50     $100 is imposed as to each of Count(s) 1               for
                  a total of $ 100.00              to be paid immediately
  ...........    Court recommends incarceration at
  ...........    Deft shall pay $               per month for the cost of incarceration supervised release
                     community confinement (halfway house)
  ...........     Deft ordered to surrender on                      to U.S. Marshal          institution
  ...........     Bond continued          set at $
  ...........     Deft remanded to the custody of the U.S. Marshal
  ...........     Govt’s oral motion to dismiss remaining counts              Filed      Granted      Denied To be filed
  ...........     Govt’s oral motion for acceptance of responsibility Filed                  Granted      Denied
  ...........    PSI filed under seal      If not appealed, PSI may be unsealed & returned to USPO
  ...........     Deft shall participate in the 500 hour drug rehabilitation treatment program
  ...........



                     SEE CONDITIONS OF SUPERVISED RELEASE/PROBATION ON PAGE II
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CONDITIONS OF              SUPERVISED RELEASE                PROBATION

 ..........                                1, 2, 6 and 8
                 Mandatory conditions:___________________             Standard Conditions
 ..........      Deft shall pay restitution in the amount of $   2,564,501.64     payable at the rate of $ see jdgmnt
                 per month       payable to                                                                               .
 ..........      Deft shall be fined $                 on Count(s)                to be paid during the defendant’s
                 period of     Supervised Release Probation           on schedule determined by USPO.
 ..........      Deft shall obtain a psychiatric and/or psychological evaluation and/or in-patient           out- patient
                 counseling as deemed necessary by USPO.
..........       Deft shall obtain substance abuse treatment & testing in-patient          out-patient counseling as
                 deemed necessary by USPO.
 ..........      Deft shall pay some or all of the costs of substance abuse and/or mental health treatment if
                 determined appropriate by USPO.
 ..........      Deft shall submit to random urine testing & monitoring as deemed necessary by USPO.
 ..........      Deft shall receive educational and/or vocational training as deemed necessary by USPO.
 ..........      Deft shall pay the cost of supervision of $                  per month.
 ..........      Deft shall perform community service for a period of               hours per week for
                             year(s) for a total of        hours.
 ..........      Defendant shall obtain & maintain full employment.
 ..........      Deft shall have no association with or be in the presence of, use, fabrication, assembly, transfer or
                 dealing with weapons/firearms of any kind.
 ...........     Deft is confined to his/her home for a period of          months with         without electronic
                 monitoring.
  ...........    Deft shall pay the cost of electronic monitoring.
 ...........     Deft is sentenced to community confinement (halfway house) for a period of                 months.
 ...........     During the period of house arrest, the defendant shall be home at all times except for employment,
                 religious obligations, medical attention, and community service. Defendant shall engage in no
                 social activities with the exception of those exclusively family oriented.
 ............    Deft shall have no involvement nor relationship with nor be in the presence of any person who
                 uses, deals with, or distributes drugs, nor shall he/she be in the presence of any actual usage of,
                 dealing in or distribution of drugs of any nature.
 ............    If Deft is deported, the defendant shall not reenter the United States without prior written
                 permission from the Secretary of the Department of Homeland Security.
 ...........     Deft shall not incur new credit card charges or open additional lines of credit without the
                 permission of the probation officer until the defendant's criminal debt obligation is paid.
 ...........     Deft shall provide the probation officer with access to requested financial information.
 ...........      __________________________________________________________________________
                 See Judgment for special conditions.
                 __________________________________________________________________________
                 __________________________________________________________________________
                 _______________________________________________________________________

        NOTES:
